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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

 

 

MARSHALL DIVISION
CONTENTGUARD HOLDIN GS, INC.,
Plaintiff, CIVIL ACTION NO. 2:13-CV-01] 12-JIRG
v. JURY TRIAL REQUESTED
APPLE INC.,
Defendant.
VERDICT FORM

In answering these questions, you are to follow all of the instructions I have given you in
the Court’s Final Instructions to the Jury. Your answers to each question must be unanimous,

When you are finished answering the questions that follow, your Foreperson should sign and

date this Verdict Form on the last page (Page 6).

 
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Question No. 1

Did ContentGuard prove by a preponderance of the evidence that Apple infringed

the following claims of the asserted patents?

Answer YES or NO for each of the listed claims below:

2859 Patent Claims

Claim 1 Mo.

’072 Patent Claims

Claim 1 A/ Oo

°956 Patent Claims

Claim 7 Ny 0

°007 Patent Claims

Claim 6 No |

°053 Patent Claims

Claim 1 Mo

 
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( Juestion No. 2:

Did Apple prove by clear and convincing evidence that any of the following claims

are invalid as being obvious?

Answer YES or NO for each of the listed claims below:
| *859 Patent Claims oe
Claim 1 | No
°072 Patent Claims |
Claim 1 Ma
°956 Patent Claims
Claim 7 Me :
007 Patent Claims

Claim 6 N 0 |

°053 Patent Claims
Claim 1 No

 
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If you found that Apple infringed a patent claim, and you found that Apple did not prove
that the same, infringed patent claim is invalid, you should proceed to answer Question No.

3. Ifyou did not so find, then do not answer Question No. 3.

Question No. 3:
What sum of money, if paid now in cash, do you find from a preponderance of the

evidence would fairly and reasonably compensate ContentGuard for Apple’s

infringement?

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Answer Question No, 4 if you have answered Ouestion No. 3. If you did not answer

Question No. 3, then do not answer Ouestion No. 4.

Question No. 4

Did ContentGuard prove by clear and convincing evidence that. Apple’s

infringement was willful?

Answer YES or NO.

 

 
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You have now reached the end of the verdict form and should review it to ensure it
accurately reflects your unanimous determinations. The jury foreperson should then sign and
date the verdict form in the spaces below and notify the marshal that you have reached a verdict.

The jury foreperson should retain possession of the verdict form and bring it when the jury is

brought back into the courtroom.

Signed this KO #4 tay of November, 2015.

 
